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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII



  LAI YING TSANG; SCOTT JEFFERSON,          Case No. 1:23-CV-00333-MWJS-
                       Plaintiffs,          KJM

              vs.                           PLAINTIFFS LAI YING TSANG
  PORTER MCGUIRE KIAKONA, LLP;              AND SCOTT JEFFERSON’S
  ASSOCIATION OF APARTMENT                  MEMORANDUM IN OPPOSITION
  OWNERS OF THE PACIFIC ISLANDER,           TO DEFENDANT PORTER
                                            MCGUIRE KIAKONA, LLP’S
                       Defendants.
                                            FIRST MOTION TO AMEND
                                            RULE 16 SCHEDULING ORDER
                                            AND FOR DISCOVERY
                                            SANCTIONS;

                                            [caption continued on next page]

                                            Date: October 9, 2024
                                            Time: 11:00 a.m.
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                                            DECLARATION OF SCOTT
                                            JEFFERSON; DECLARATION OF
                                            MAX J. KIMURA; EXHIBIT “1”;
                                            CERTIFICATE OF COMPLIANCE;
                                            AND CERTIFICATE OF SERVICE




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          PLAINTIFFS LAI YING TSANG AND SCOTT JEFFERSON’S
              MEMORANDUM IN OPPOSITION TO DEFENDANT
       PORTER MCGUIRE KIAKONA, LLP’S FIRST MOTION TO AMEND
       RULE 16 SCHEDULING ORDER AND FOR DISCOVERY SANCTIONS

               Plaintiffs Lai Ying Tsang and Scott Jefferson (“Plaintiffs”), by and

  through Sakai Iwanaga Sutton Law Group, AAL, LLLC, respectfully submit their

  memorandum in opposition to the motion filed by Defendant Porter McGuire

  Kiakona, LLP (“Defendant”) to amend the Court’s Rule 16 Scheduling Order and

  for discovery sanctions, filed on August 26, 2024.

  I.     INTRODUCTION

               This case arises from a condo and debt collection law firm using

  abusive, deceptive, and harassing methods to collect their own attorneys’ fees from

  out-of-state apartment owners. Plaintiffs Lai Ying (“Kaddy”) Tsang and Scott

  Jefferson (“Scott”), a married couple living in New York City, were advised by

  their prior attorneys—Richard L. Holcomb, Bruce F. Sherman, and Terrence M.

  Revere—(“prior attorneys”) that they had a “juicy” case against Defendant, which

  had a reputation of predatory billing, and that they would be doing Hawaii a great

  service by filing suit. Relying on advise of their attorneys, Plaintiffs filed suit in

  federal court.

               Presently, Defendant moved to amend the Rule 16 Scheduling Order

  to extend both the discovery motions deadline and the dispositive motions deadline
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  which expired on July 18, and August 19, 2024, respectively, so that the court may

  consider sanctioning Kaddy and Scott. In essence, Defendant wants to dismiss

  their case and thereby deny them a jury trial on the merits all because: A)

  Defendant chose to subpoena documents instead of first asking for them from

  prior attorneys; B) an agitated Scott moved around and swore at Defendant

  counsel who was badgering his deponent wife; C) an immigrant Kaddy, for

  whom English is a second language, miscommunicated at the end of her long,

  stressful deposition, wherein she was subjected to Defendant counsel’s repetitive

  questioning; and D) prior Plaintiffs attorneys mis-drafted pleadings and

  generally, mishandled the case. When you remove both Defendant counsel’s

  conduct and prior attorneys’ conduct, Plaintiffs’ own conduct amount to just a

  molehill and undeserving of any severe and disproportionate sanction.

  Accordingly, the Defendant’s motion should be denied.

  II.   DEFENDANT DOES NOT HAVE GOOD CAUSE
        TO MODIFY THE RULE 16 SCHEDULING ORDER

              The Rule 16 Scheduling Order deadlines may be modified for “good

  cause”. Fed. R. Civ. P. 16(b). The court must consider the diligence of the party

  seeking the modification and whether that party cannot reasonably meet the

  scheduled deadlines. Johnson v. Mammoth Recreations, Inc. 975 F.2d 604, 609.

  In this case, Defendant was not diligent in how it conducted discovery, and it could

  have reasonably met the scheduled deadlines.


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        A.     Defendant Had Reasonably Enough Time, Despite Choosing
               the Long, Expensive Route of Subpoenaing Documents

               Defendant asserts that it could not meet the Rule 16 discovery

  motions deadline because just days before the deadline it received subpoenaed

  documents from Scott’s realtor and property managers. First, Defendant chose to

  go through the long, expensive path of subpoenaing documents instead of simply

  asking Plaintiffs for the documents through a “meet and confer” with Plaintiffs’

  prior attorneys. Had Defendant done this it probably would have resulted in the

  production of documents sought by Defendant. Declaration of Scott Jefferson at

  No. 7. Nevertheless, even after Defendant received the subpoenaed documents, it

  still had days. It is reasonable to expect a large law firm, numbering over 40

  attorneys, and charging high fees, to meet a deadline in days.

        B.     Defendant Had Reasonably Enough Time to Meet
               the Dispositive Motion Deadline.

               Similarly, Defendant asserts that it could not meet the dispositive

  motions deadline of August 19, 2024, because Kaddy’s oral deposition took place

  on August 16, 2024, wherein Defendant characterize her miscommunications and

  misunderstandings as “perjury”.     Plaintiffs’ position is that a large law firm,

  charging high rates, could reasonably meet the deadline.         Especially, when

  Defendant counsel is consistently demanding its attorneys’ fees from Plaintiffs,




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  Plaintiffs would expect that Defendant counsel should at least earn their fees by

  meeting deadlines before expecting someone else to pay for their fees.

              Moreover, Defendant counsel unreasonably asserts that it could not

  meet the dispositive motions deadline because it did not receive Kaddy and Scott’s

  oral deposition transcripts in time. Transcripts are not required to support a

  dispositive motion.    Defendant had two attorneys present at both Plaintiffs’

  depositions. At least one of them could have written a declaration based on what

  they believed they observed.

              In sum, Defendant does not have good cause to modify the Rule 16

  Scheduling Order.

  III.   PLAINTIFFS’ CONDUCT DOES NOT ARISE TO BAD FAITH

         A.   Any Alleged False and Unsupported Claims were made by
              Plaintiffs’ Prior Attorneys, not Plaintiffs.

              Kaddy and Scott are not sophisticated and not familiar with litigation.

  Kaddy, the primary Plaintiff and consumer, is an event photographer, mostly of

  sporting events. Moreover, she is an immigrant from Hong Kong and English is

  her second language. Kaddy’s English abilities are passable for ordinary life in

  America, but not to the level where she could competently read, understand, and

  testify on legal matters without the assistance of an English-to-Chinese Interpreter

  and an attorney. She was totally and completely dependent on her prior attorneys.




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                  Scott is an artist, not a lawyer. He held many jobs—waiter, graphic

  designer, tall ship sailor, swimming instructor, personal trainer—but none involved

  reading, writing, and understanding “legalese”. Jefferson Decl., No. 5. Scott did

  not get around to getting a college degree in Fine Arts until he reached the age of

  forty-seven. Similar to his wife, Scott depended on and followed the advice of his

  prior attorneys. If there are any mischaracterization or description of facts, claims,

  and law in this case, that falls solely upon their prior attorneys. Id.

        B.        Plaintiffs are Victims of Lack of Coordination, Preparedness,
                  and Instruction by their Prior Attorneys.

                  Kaddy and Scott have never been in a lawsuit before and have never

  had their depositions taken. Plaintiffs’ prior counsel did not prepare them for their

  depositions. Prior counsel never properly explained what a deposition is, what to

  expect, how it is conducted, and how they are to conduct themselves.             It is

  understandable that Kaddy and Scott were confused, nervous, frightened, and upset

  by the Defendant counsel’s tactics. Repeatedly asking the same question, again

  and again, i.e. badgering, caused Kaddy to be disoriented, unconsciously make

  harmless errors, and unwittingly change her responses. Kaddy understandably fell

  victim to the circumstances because she is not a native English speaker. Jefferson

  Decl., No. 3.




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               C.    Prior Attorneys Failed Kaddy by Not Requesting
                     an English to Chinese Interpreter

               Moreover, prior counsel failed Kaddy by not requesting an English to

  Chinese Interpreter. Kaddy is an immigrant to America and only first arrived to

  work in New York at the age of forty years old.           Her English abilities are

  passable for every day living, but not any where near passable to testify on legal

  matters in a deposition or at trial. Accordingly, any strange or unusual responses

  by Kaddy are understandable given her utter confusion, bewilderment, and stress

  from having to listen so intently on questions in English and respond back in

  English. Jefferson Decl., No. 4. Naturally, when Defendant counsel asked the

  same question 5 times, Kaddy changed her words because it appears that the

  person asking the questions does not understand her response. Accordingly, she

  apparently believes that she was not using the right English words so she needs to

  change them.

  IV.   DEFENDANT HAS SUFFERED NO PREJUDICE

               Nonetheless, any errors or transgressions committed by the Plaintiffs

  in their depositions were harmless and caused no prejudice to the Defendant.

  Scott apologizes to Defendant’s counsel for swearing at him. The only harm and

  prejudice suffered by Plaintiffs’ depositions were to the Plaintiffs’ prior attorneys

  and Plaintiffs themselves.




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  V.    PLAINTIFFS ARE ENTITLED TO HAVE THEIR CASE
        TRIED ON THE MERITS

               It is well-established law and public policy that cases should be tried

  on the merits and not dismissed summarily because of alleged minor transgressions

  of little or no prejudice to the other party. Kaddy and Scott are entitled to have

  their case tried on the merits and not dismissed because of their own harmless

  conduct or their prior attorney’s conduct during the course of discovery.

  Moreover, any fault or harm caused by prior attorney’s conduct should be borne by

  them and not Plaintiffs. It would be a miscarriage of justice to punish Kaddy and

  Scott for the conduct and omissions of their prior attorneys.

  VI.   CONCLUSION

               For the above stated reasons, Defendant’s motion to amend the Rule

  16 Scheduling Order and for discovery sanctions, including dismissal and/or an

  award of attorneys’ fees or costs, should be denied.

               Dated: Honolulu, Hawaii, October 4, 2024.

                                            /s/ Max Kimura
                                         WAYNE M. SAKAI
                                         MAX J. KIMURA
                                         Attorneys for Plaintiffs
                                         LAI YING TSANG and SCOTT
                                         JEFFERSON




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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  LAI YING TSANG; SCOTT JEFFERSON,                   Case No. 1:23-CV-00333-MWJS-
                          Plaintiffs,                KJM

               vs.                                   CERTIFICATE OF COMPLIANCE
  PORTER MCGUIRE KIAKONA, LLP;                       WITH LOCAL RULE 7.5
  ASSOCIATION OF APARTMENT
  OWNERS OF THE PACIFIC ISLANDER,
                          Defendants.

          CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.5

               The undersigned hereby certifies that the foregoing memorandum

  filed on behalf of Plaintiffs Lai Ying Tsang and Scott Jefferson is formatted with

  Times New Roman 14-point font using Microsoft Word and that based on the word

  count feature of that program the memorandum, including headings, footnotes, and

  quotations, contains approximately 1,500 words, exclusive of Court caption, table

  of contents, table of authorities, and certificate of service.

               Dated: Honolulu, Hawaii, October 4, 2024.



                                             /s/ Max J. Kimura
                                           WAYNE M. SAKAI
                                           MAX J. KIMURA
                                           Attorneys for Plaintiffs
                                           LAI YING TSANG and SCOTT
                                           JEFFERSON
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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

  LAI YING TSANG; SCOTT JEFFERSON,            Case No. 1:23-CV-00333-MWJS-
                       Plaintiffs,            KJM

              vs.                             CERTIFICATE OF SERVICE
  PORTER MCGUIRE KIAKONA, LLP;
  ASSOCIATION OF APARTMENT
  OWNERS OF THE PACIFIC ISLANDER,
                       Defendants.

                          CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on October 4, 2024, copies of the

  foregoing document and Declarations of Scott Jefferson and Max J. Kimura and

  Exhibit “1” were duly served on the parties of record by using the Court’s

  CM/ECF system to:

  CALVIN E. YOUNG, ESQ.
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  STEVEN T. WALL, ESQ.
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  Honolulu, HI 96813

  Attorneys for Defendant
  PORTER MCGUIRE KIAKONA, LLP

              Dated: Honolulu, Hawaii, October 4, 2024.

                                        /s/ Max J. Kimura
                                      WAYNE M. SAKAI
                                      MAX J. KIMURA
                                      Attorneys for Plaintiffs LAI YING TSANG
                                      and SCOTT JEFFERSON
